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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 SHANELLE JENKINS, as surviving                   §
 spouse, and as Representive of the Estate        §
 of Robert Geron Miller,                          §
                                                  §
          Plaintiff,                              §
 v.                                               §    Civil Action No. 4:21-cv-0910-O
                                                  §
 TARRANT COUNTY SHERIFF’S                         §
 OFFICE et al.,                                   §
                                                  §
          Defendants.                             §

                                      FINAL JUDGMENT

         In accordance with the Court’s Memorandum Opinion and Order dated February 7, 2022,

and pursuant to Federal Rule of Civil Procedure 58(a), it is hereby ORDERED, ADJUDGED,

and DECREED that Plaintiff’s claims against Defendant Texas Department of Public Safety are

dismissed without prejudice under Federal Rule of Civil Procedure 12(b)(1); that Plaintiff’s

federal law claims against Defendants Tarrant County, the Tarrant County Sheriff’s Office, and

Sheriff Bill Waybourn are dismissed with prejudice under Federal Rule of Civil Procedure

12(b)(6); and that Plaintiff’s state law claims against Defendants Tarrant County, the Tarrant

County Sheriff’s Office, and Sheriff Bill Waybourn are dismissed without prejudice, as the Court

has declined to exercise supplemental jurisdiction over these state law claims pursuant to 28 U.S.C.

§ 1367(c). It is further ORDERED, ADJUDGED, and DECREED that each of these parties bear

the court costs and attorney’s fees incurred by that party.

         SIGNED on this 11th day of February, 2022.


                                                          _____________________________________
                                                          Reed O’Connor
                                                          UNITED STATES DISTRICT JUDGE
